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   8                        UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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        MARC ELLIOT                               Case No.
   12                                             2:21−cv−08206−SSS−DFM
                      Plaintiff(s),
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                                                  REASSIGNMENT ORDER
   14       v.                                    (GENERAL ORDER 21-1 − SECTION II.B)

   15 LIONS GATE ENTERTAINMENT
      CORPORATION, et al.
   16
               Defendant(s).
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   20      IT IS ORDERED that this case is reassigned to the Honorable Sunshine S.

   21   Sykes for all further proceedings. The Court further orders as follows:

   22      1.    All future filings shall bear the initials SSS immediately after the case

   23            number.

   24      2.    All subsequent hearings shall be held in Courtroom 2 on the 2nd Floor of

   25            the United States Courthouse, 3470 Twelfth Street, Riverside,

   26            California 92501.

   27      3.    All matters previously referred to a magistrate judge shall remain before
   28            that magistrate judge.
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   1       4.   Cases previously referred to an ADR process, whether at filing, by order

   2            of the previously assigned judge, or by stipulation and order, shall proceed

   3            under the terms of the applicable ADR local rule. Dates for previously

   4            scheduled ADR telephone conferences shall remain in effect.

   5       5.   All discovery cutoff dates and other deadlines associated with this case,

   6            such as disclosure and expert deadlines, shall remain in effect.

   7       6.   All case management conference dates are vacated and will be reset by the

   8            Court.

   9       7.   Except for matters noticed for hearing before a magistrate judge, all law

   10           and motion hearing dates are vacated and must be re-noticed by the moving

   11           party for dates on or after September 16, 2022.

   12      8.   All pretrial conferences and trial dates currently set for dates earlier

   13           than January 1, 2023, are vacated.

   14      9.   All pretrial conferences and trial dates currently set for January 1, 2023,

   15           or after, as well as other deadlines associated with the case, shall remain

   16           in effect.

   17      10. Each party is expected to review and become familiar with any and all

   18           applicable standing orders. In addition to the foregoing, the parties are

   19           hereby ordered to file a joint case management statement within fifteen

   20           days of the date of this Order. Separate statements are only appropriate

   21           if any party is proceeding without counsel. The statement should not

   22           exceed ten pages in length, should not contain attachments, and should

   23           address the following items in the following order:

   24                a.       The date the case was filed;

   25                b.       A list or description of each party;

   26                c.       A summary of all claims, counterclaims, crossclaims, or

   27                        third party claims;

   28                d.       A brief description of the events underlying the action;


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   1              e.      A description of the relief sought and the damages claimed

   2                     with an explanation as to how damages have been (or will be)

   3                     computed;

   4              f.      The status of discovery, including any significant discovery

   5                     management issues, as well as any limits or cutoff dates;

   6              g.      A procedural history of the case, including the dates and

   7                     outcomes of any previous motions that were decided or

   8                     submitted, any ADR proceedings or settlement conferences

   9                     that have been scheduled or concluded, any appellate

   10                    proceedings that are pending or concluded, and any previous

   11                    referral to a magistrate judge;

   12             h.      A description of any other deadlines in place before

   13                     reassignment that shall remain in effect pursuant to this

   14                    Order, including those for dispositive motions, pretrial

   15                    conferences, and trials, any requested modification of these

   16                    dates, and the reasons for any such request;

   17             i.     Any proposed dates for any pretrial conferences and trial dates

   18                    that were vacated pursuant to this Order, such proposed

   19                    trial dates shall be no sooner than October 3, 2022;

   20             j.     Whether the parties will consent to a magistrate judge for trial;

   21             k.      Whether there exists an immediate need for a case

   22                    management conference to be scheduled in the action, and

   23                     why the parties believe such a need exists; and

   24             l.     A plain and specific statement of any immediate relief sought,

   25                    if applicable, regarding the case schedule; and

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     1                m.          Any other information relevant to the reassignment

     2                           of the case.

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              IT IS SO ORDERED.
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     8    Dated: June 25, 2022
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                                                    ______________________________________
                                                    SUNSHINE S. SYKES
     10                                             UNITED STATES DISTRICT JUDGE
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